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 4   Attorney for Defendant
     JAVIER MUNOZ
 5
                           IN THE UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,       )       No. Cr.S. 06-0441-GEB
 8                                   )
                   Plaintiff,        )       STIPULATION AND [PROPOSED] ORDER
 9                                   )       CONTINUING CASE AND EXCLUDING
         v.                          )       TIME
10                                   )
     EFRAIN MEDINA, et al.,          )       Date: February 29, 2008
11                                   )       Time: 9:00 a.m.
                   Defendant.        )       Judge: Hon. Garland E. Burrell, Jr.
12                                   )
     _______________________________ )
13
14           IT IS HEREBY STIPULATED by and between Assistant United States

15   Attorney PHILLIP TALBERT, counsel for Plaintiff, and MICHAEL D. LONG,

16   attorney for JAVIER MUNOZ, HAYES H. GABLE, III, attorney for ANDRES MAYORGA
     and ADAM D. FEIN, attorney for DONALD HAYLES, that the status conference
17
     scheduled for January 11, 2008, be continued to February 29, 2008, for a
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     status conference.    This continuance is being requested because each
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     remaining counsel needs additional time to prepare, to review discovery and
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     to interview witnesses.    This case arises from a long term Title III
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     investigation involving eight court-authorized wire interception orders.      The
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     parties anticipate that discovery could include over one thousand pages of
23   documents and hundreds of intercepted and recorded telephone calls.
24        IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act
25   be excluded from January 11, 2008, through and including February 29, 2008,
26   pursuant to 18 U.S.C. § 3161(h)(8)(B)(ii)    and Local Code T-2, based on the

27   complexity of this case, and 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T-

28   4, based on the need for defense counsel to review discovery and adequately
              Case 2:06-cr-00441-DAD Document 99 Filed 01/11/08 Page 2 of 2


 1   prepare, and based on a finding by the Court that the ends of justice served

 2   by granting a continuance outweigh the best interest of the public and

 3   defendant in a speedy trial.     This case has already been found to be complex

 4   by Magistrate Judge Kimberley J. Mueller.

               IT IS SO STIPULATED.
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     Dated:    January 10, 2008
 6                                             /s/ Michael D. Long for
 7                                             MICHAEL D. LONG
                                               Attorney for JAVIER MUNOZ
 8   Dated:    January 10, 2008

 9                                             /s/ Michael D. Long for

10                                             HAYES H. GABLE, III
                                               Attorney for ANDRES MAYORGA
11
     Dated:    January 10, 2008
                                               /s/ Michael D. Long for
12
                                               ADAM D. FEIN
13                                             Attorney for DONALD HAYLES
14
                                               McGREGOR W. SCOTT
15                                             United States Attorney
16   Dated:    January 10, 2008          /S/ MICHAEL D. LONG for Phillip Talbert
                                              PHILLIP TALBERT
17                                            Assistant United States Attorney
                                              Counsel for Plaintiff
18
                                           O R D E R
19
                IT IS SO ORDERED.
20
     Dated:    January 10, 2008
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22
                                         GARLAND E. BURRELL, JR.
23                                       United States District Judge

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     Stipulation and Order                     2
